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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 LATOYA PAMPLIN,                            )
                                            )
                     Plaintiff,             )   No.    1:18-cv-08298
                                            )
 v.                                         )
                                            )
 ILLINOIS DEPATMENT OF                      )   Hon.   Elaine E. Bucklo
 HUMAN SERVICES; ILLINOIS                   )
 DEPARTMENT OF CENTRAL                      )
 MANAGEMENT SERVICES,                       )
                                            )          JURY TRIAL DEMANDED
                     Defendants.            )


                       NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(i), Plaintiff, Latoya

Pamplin (“Ms. Pamplin”), submits her Notice of Voluntary Dismissal, and in support

of this Notice, states the following grounds:

       1) Ms. Pamplin filed her Complaint on December 18, 2018.

       2) Ms. Pamplin immediately served a Notice and Waiver of Service upon

           Defendants and filed Defendants’ signed waivers on January 18, 2019.

       3) Defendants filed their Appearance of Counsel on January 31, 2019.

       4) Defendants have not filed either an Answer or a Motion for Summary

           Judgment.

       5) Ms. Pamplin files this Notice of Voluntary Dismissal with the intention of

           dismissing the case under Federal Rules of Civil Procedure 41(a)(1)(A)(i)

           without prejudice to refiling.
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WHEREFORE, Ms. Pamplin requests this Court to enter an order dismissing all

actions and claims against all Defendants in this case, without prejudice, and to close

the case on the Case Management/Electronic Case Files system.


Dated: February 19, 2019




                                                               Respectfully submitted,

                                                               By:        /s/Jason Han
                                               Jason Han, Attorney for LaToya Pamplin




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